
19 N.Y.2d 995 (1967)
In the Matter of Theodore G. Weinberger, Respondent,
v.
Edith Jackson et al., Constituting the Board of Inspectors of Election of the Village of Kensington, et al., and Morton A. Epstein, Appellant.
Court of Appeals of the State of New York.
Argued May 31, 1967.
Decided June 1, 1967.
George Malinsky for appellant.
Marvin George Florman for respondent.
No appearance for Board of Inspectors of Election.
Concur: Chief Judge FULD and Judges VAN VOORHIS, BURKE, SCILEPPI, BERGAN, KEATING and BREITEL.
Order affirmed, without costs, upon the majority opinion at the Appellate Division; no opinion.
